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                            United States District Court
                                   EASTERN DISTRICT OF TEXAS
                                      M ARSHALL DIVISION


UNITED STATES OF AMERICA                           §
                                                   §
V.                                                 §           CASE NO. 2:06CR5
                                                   §
JESSICA MARIE MCCREERY                             §


              ORDER ADOPTING MAGISTRATE JUDGE’S REPORT AND
                        FINDING DEFENDANT GUILTY

       On this day, the Court considered the Findings of Fact and Recommendation of United States

Magistrate Judge Caroline M. Craven regarding Defendants’ plea of guilty to Count 5 of an Indictment in

violation of Title 21, USC, Section 841(a)(1). Having conducted a proceeding in the form and manner

prescribed by Fed. R. Crim. P. 11, the Magistrate Judge recommends that the Court accept the guilty plea

of the Defendant. No objections to the Findings of Fact and Recommendation have been filed. The Court

is of the opinion that the Findings of Fact and Recommendation should be accepted.

       It is accordingly ORDERED that the Findings of Fact and Recommendation of the United States

Magistrate Judge, filed June 29, 2006, are hereby ADOPTED.

       It is further ORDERED that, pursuant to Defendant’s plea agreement, the Court finds Defendant

GUILTY of Count 5 of the Indictment in the above-numbered cause.

       SIGNED this 20th day of July, 2006.



                                               __________________________________________
                                               T. JOHN WARD
                                               UNITED STATES DISTRICT JUDGE
